       Case 2:11-cv-00084 Document 1197 Filed on 03/12/22 in TXSD Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION

    M.D., b/n/f Sarah R. Stukenberg, et al., §
                                             §
          Plaintiffs,                        §
    v.                                       §
                                             §
                                               Civil Action No. 2:11-CV-00084
    GREG ABBOTT, in his official capacity as §
    Governor of the State of Texas, et al.,  §
                                             §
          Defendants.                        §



                    Court Monitors’ Update to the Court Regarding The Refuge


    The Court held a hearing on March 10, 2022 to discuss a report by the Department of Family
and Protective Services (“DFPS”) to the Court’s Monitors earlier in the day disclosing “an urgent
situation involving The Refuge for DMST (“The Refuge”), a residential operation located in
Bastrop, Texas that serves female victims of commercial sex trafficking between the ages of 11-
17.”1 The Department wrote:

          As of 3.4.22, 11 youth were placed there – six through DFPS child-specific
          contracts, three through OCOK, one through ICPC (out of state) and one through
          private pay (parental placement).

          During an almost six-week period beginning on 1.24.22, DFPS received multiple
          intakes alleging SXAB, NSUP, PHAB, EXPC and MDNG at this operation.
          Among them, on 1.24.22, a current Refuge employee contacted Statewide Intake
          alleging NSUP and SXAB of two youth by a former Refuge employee. Specifically,
          the reporter alleged that while employed at the operation, the former employee sold
          nude photos of two youth in care, using the proceeds to purchase illegal drugs and
          alcohol which were supplied to the youth. Because the intake involved alleged
          human trafficking, local law enforcement and the Texas Department of Public
          Safety were immediately notified and a CPI Special Investigator was assigned to
          the case. Between 1.24.22 and 3.4.22, Statewide Intake received eight intakes, all
          alleging human trafficking by the former employee. However, during the

1
    See Letter The Refuge, ECF No. 1195.

                                                  1
     Case 2:11-cv-00084 Document 1197 Filed on 03/12/22 in TXSD Page 2 of 2




        investigative process, RCCI discovered several additional staff still employed at the
        operation appeared to be involved, and that many of them were related to one
        another by blood or marriage and/or were cohabiting.2

        DFPS reported that “[b]y mid-afternoon on 3.9.22, all youth in DFPS care were removed;
eight of the 9 have already been placed in other less restrictive placements that specialize in serving
victims of commercial sex trafficking.”3 The Court ordered DFPS to provide information to the
Monitors by 12:00 p.m. on March 11, 2022, detailing the medical and mental health services
provided to the children following the January 24, 2022 allegations of human trafficking.

       DFPS provided the Monitors with a summary of medical and mental health services
provided to six children directly placed by DFPS at The Refuge. The Department reported that the
agency may “identify additional responsive information/documents,” and, if so, “will immediately
share any additional information/documents with” the Court Monitors.

       DFPS’s information indicates that one of the six children was treated by a mental health
professional since January 24, 2022. Two children have had dental visits since that date; and two
children were seen by a medical professional or a medical laboratory. Several of the children
changed medications since January 24, 2022, as well.4

        Our Community Our Kids (OCOK), the Single Source Continuum Contractor for Region
3b, placed three children at The Refuge. DFPS provided the Monitors with information from
OCOK that identified one date-specific service for each child – a medical examination scheduled
for today.5




2
  Id.
3
  Id.
4
  Email from Tara Olah, Director of Implementation and Strategy, DFPS, to Kevin Ryan, Monitor, (March 11, 2022)
(on file with the Monitors).
5
  Email from Tara Olah, Director of Implementation and Strategy, DFPS, to Kevin Ryan, Monitor, (March 11, 2022)
(on file with the Monitors).

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